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                   United States Court of Appeals
                                 FIFTH CIRCUIT
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                              May 22, 2024


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    No. 22-50732      Mi Familia Vota v. Ogg
                      USDC No. 5:21-CV-844
                      USDC No. 1:21-CV-780
                      USDC No. 1:21-CV-786
                      USDC No. 5:21-CV-848
                      USDC No. 5:21-CV-920


Dear Ms. Amunson, Mr. Badat, Mr. Baron, Mr. Berkowitz, Mr.
Bonifaz, Mr. Broughton, Mr. Buser-Clancy, Mr. Cepeda Derieux,
Mr. Clements, Mr. Dodge, Mr. Dolling, Mr. Genecin, Mr. Ha,
Harris, Mr. Hofer, Ms. Holmes, Ms. Hostetler, Ms. Kumar, Mr.
Liu, Mr. Nichols, Mr. Nkwonta, Ms. Rodriguez Armenta, Ms.
Sadasivan, Mr. Showalter, Mr. Smith, Mr. Spital, Mr. Thompson,
Mr. Vattamala,
Attached is a revised case caption, which should be used on all
future filings in this case.
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                          Sincerely,
                          LYLE W. CAYCE, Clerk

                          By: _________________________
                          Casey A. Sullivan, Deputy Clerk
                          504-310-7642
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                           Case No. 22-50732




Mi Familia Vota; Marla Lopez; Marlon Lopez; Paul Rutledge,
                       Plaintiffs - Appellees
v.
Kim Ogg,
                       Defendant - Appellant
___________
OCA-Greater Houston; League of Women Voters of Texas; REVUP-
Texas,
                       Plaintiffs - Appellees
v.
Jose A. Esparza, In His Official Capacity as Texas Secretary of
State (Acting); Et al,
                        Defendants
Kim Ogg,
                        Appellant
___________
LULAC Texas; Vote Latino; Texas Alliance for Retired Americans;
Texas AFT,
                         Plaintiffs - Appellees
v.
Jose Esparza; Et al,
                         Defendant
Kim Ogg,
                         Appellant
___________
Delta Sigma Theta Sorority, Incorporated; Houston Area Urban
League; The Arc of Texas; Jeffrey Lamar Clemmons,
                         Plaintiffs - Appellees
     Case: 22-50732   Document: 196    Page: 7   Date Filed: 05/22/2024




v.
Gregory Wayne Abbott, In His Official Capacity as the Governor
of Texas; Et al,
                        Defendants
Kim Ogg,
                        Appellant
___________
Mi Familia Vota; Marla Lopez; Marlon Lopez; Paul Rutledge,
                         Plaintiffs - Appellees
v.
Greg Abbott, In His Official Capacity as Governor of Texas; Et
al,
                           Defendants
Kim Ogg,
                           Appellant
